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                            THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF UTAH

UNITED STATES OF AMERICA,
                                                    MEMORANDUM DECISION AND
                                                    ORDER CONTINUING TRIAL AND
               Plaintiff,
                                                    EXCLUDING TIME
                                                    UNDER THE SPEEDY TRIAL ACT
       vs.
                                                    Case No. 2:19-cr-00466-DBB
Hasan Qasim,
                                                    District Judge David Barlow
               Defendant.


       This Order Continuing Trial and Excluding Time Under the Speedy Trial Act is

entered in response to the outbreak of the Coronavirus Disease (COVID-19) in the District

of Utah.

       On March 13, 2020, a National Emergency was declared in response to the nationwide

outbreak, which the World Health Organization has declared a global pandemic. The court

continues to monitor closely the state of the COVID-19 health crisis in Utah and around the

nation. The number of Utahns receiving vaccines is falling even as daily cases of COVID-19

in Utah are increasing. Utah and the nation remain in the midst of the most serious global

pandemic in over a century. Globally, it is estimated that more than 180 million people have

been infected, and nearly 4,000,000 have died from the disease. The Judicial Conference of

the United States has found that emergency conditions due to the national COVID-19 crisis

have affected and continue to materially affect the functioning of the federal courts. State and

federal courts are beginning to carefully move toward safe reopening as condition in different

regions of the country permit.


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       The Centers for Disease Control and Prevention (CDC) continues to issue guidance to

combat the spread of COVID-19 and to promote the health and well-being of the nation. This

guidance includes recommendations that all Americans avoid close contact with others (i.e.,

being within six feet), among other things. There are nationwide now over 34 million confirmed

cases of Americans infected with COVID-19, resulting in over 600,000 deaths. Utah has now

confirmed more than 426,000 cases, resulting in over 18,000 hospitalizations and over 2,400

deaths. COVID-19 test positivity rates remain above levels necessary to reduce community

spread, and infection rates are climbing. Crucially, the Delta COVID variant is quickly spreading

in Utah. The state has been trending in recent weeks towards greater infection and more serious

disease, particularly among those who are not vaccinated. Vaccinations are proceeding in Utah

but the percentage of vaccinated persons in Utah is less than neighboring states, and daily

vaccine administrations are steadily dropping.

       Taking into account all of the available and relevant data, including the numbers of daily

new cases and hospitalizations, test positivity rates, ICU capacity in Utah hospitals, the

availability of vaccines and the vaccination rates, the introduction and spread of several variants

of the COVID-19 virus with unknown implications, as well as enhanced treatment capabilities

for those infected with COVID-19, the court concludes the pandemic continues to present an

ongoing health emergency in Utah.

       Additionally, the Court has issued a number of General Court Orders in response to the

outbreak of COVID-19 in the District of Utah.

   •   General Order 20-008 placed restrictions on visitors to the District’s courthouse effective
       March 12, 2020, until further order.




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      •    General Order 20-009 postponed most civil and criminal proceedings, and included
           findings and conclusions for an “ends of justice” exclusion of time under the Speedy
           Trial Act 1 for all criminal cases in the District from March 16, 2020, through May 1,
           2020.

      •    General Order 20-010 modified court operations for some criminal proceedings and
           offender supervision effective March 23, 2020, until further order.

      •    General Order 20-011 expanded video and teleconferencing capabilities for many
           criminal proceedings under the Coronavirus Aid, Relief, and Economic Security Act
           effective March 31, 2020, and continuing for 90 days.

      •    General Order 20-012 extended the postponement of most civil and criminal proceedings
           to June 15, 2020 and included findings and conclusions for an “ends of justice” exclusion
           of time under the Speedy Trial Act for all criminal cases through June 15, 2020.

      •    General Order 20-017 extended the postponement of most civil and criminal proceedings
           to August 1, 2020 and included findings and conclusions for an “ends of justice”
           exclusion of time under the Speedy Trial Act for all criminal cases through August 1,
           2020.

      •    General Order 20-020 renewed findings made in General Order 20-011 and extended for
           up to 90 additional days – through October 8, 2020 – the authorizations made under the
           CARES Act for expanded video and teleconferencing capabilities in many criminal cases.

      •    General Order 20-021 generally continued the status quo throughout the Court and
           extended relevant deadlines through September 1, 2020. It also describes the Court’s four
           phase reopening plan and the gating criteria.

      •    General Order 20-026 provided for resumed in-person proceedings at the discretion of
           individual judges in critical cases but extended the postponement of civil and criminal
           jury trials to October 1, 2020. It also included findings and conclusions for an “ends of
           justice” exclusion of time under the Speedy Trial Act for all criminal cases through
           October 1, 2020.

      •    General Order 20-028 extended the emergency provisions of the CARES Act for an
           additional 90 days.

      •    General Order 20-029 extended the postponement of civil and criminal jury trials to
           November 2, 2020. It also included findings and conclusions for an “ends of justice”



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    18 U.S.C. § 3161(h)(7)(A).

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     exclusion of time under the Speedy Trial Act for all criminal cases through November 2,
     2020.

 •   General Order 20-030 extended the postponement of civil and criminal jury trials to
     February 1, 2021, pending further order of the Court. It also included findings and
     conclusions for an “ends of justice” exclusion of time under the Speedy Trial Act for all
     criminal cases through February 1, 2021.

 •   General Order 20-033 extended the emergency provisions of the CARES Act for an
     additional 90 days.

 •   General Order 21-001 extended the postponement of civil and criminal jury trials to April
     1, 2021, pending further order of the Court. It also included findings and conclusions for
     an “ends of justice” exclusion of time under the Speedy Trial Act for all criminal cases
     through April 1, 2021.

 •   General Order 21-003 announced the initiation of Phase 2 of the court’s reopening plan
     beginning April 29, 2021, allowing for continuous, consecutive criminal jury trials to be
     scheduled in the court’s special proceedings courtroom. It also included findings and
     conclusions for an “ends of justice” exclusion of time through June 30, 2021 under the
     Speedy Trial Act for all other criminal cases not currently scheduled for trial in the
     special proceedings courtroom.

 •   General Order 21-006 extended the emergency provisions of the CARES Act for an
     additional 90 days.

 •   General Order 21-007 announced the continuation of Phase 2 of the court’s reopening
     plan limiting criminal jury trials to one courtroom to be scheduled consecutively in the
     court’s special proceedings courtroom. It also included findings and conclusions for an
     “ends of justice” exclusion of time through July 31, 2021 under the Speedy Trial Act.

 •   General Order 21-009 announced the continuation of Phase 2 of the court’s reopening
     plan limiting criminal jury trials to one courtroom to be scheduled consecutively in the
     court’s special proceedings courtroom. It also included findings and conclusions for an
     “ends of justice” exclusion of time through August 31, 2021 under the Speedy Trial Act.




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          An “ends of justice” exclusion of time under the Speedy Trial Act is disfavored and “was

meant to be a rarely used tool for those cases demanding more flexible treatment.” 2 However,

based on the ongoing nature of the COVID-19 outbreak in the District, the effect of national and

local public health recommendations and directives, and the findings and conclusions in General

Orders 20-009 through 20-012, 20-017, 20-020, 20-021, 20-026, 20-028, 20-029, 20-030, 20-

033, 21-001 and 20-003, it is necessary and appropriate to continue trial in this case and exclude

time under the Speedy Trial Act until such time as this trial can be scheduled in the special

proceedings courtroom or until conditions improve such that the courthouse can simultaneously

host more than one petit jury at a time. The high number of COVID-19 cases and deaths

nationally, and in Utah, demand modifications in court practices to protect the public health.

Courts and court operations are necessarily social operations, involving many people.

          The need to protect the health of the public during a deadly pandemic outweighs the

rights of Defendant and the public to a speedy trial. Moreover, there is a significantly reduced

ability to obtain an adequate spectrum of jurors and available counsel, witnesses, and court

personnel to be present in the courtroom for trial. Empaneling a jury, conducting a trial, and

arranging jury deliberations, with due regard for health and safety, considering the broad

spectrum of participants and their contacts outside the court, is not currently possible in the

physical facilities available to the court for more than one trial at a time. Long exposure in

confined spaces, which is inherent in trial, increases risk of infection. Video and audio

conferencing, used for hearings, are not available for trials. Counsel’s ability to adequately


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     United States v. Toombs, 574 F.3d 1262, 1269 (10th Cir. 2009).




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prepare for trial, including locating and consulting with witnesses, and defense counsel’s ability

to confer with Defendant, under these circumstances is also greatly reduced.

         A failure to continue trial under these circumstances would result in a miscarriage of

justice 3 and would deny counsel for the government and Defendant the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence. 4 Therefore,

the ends of justice served by such a continuance outweigh the best interests of the public and

Defendant in a speedy trial. 5 This continuance is not predicated on general congestion of the

court’s calendar or lack of diligent preparation by counsel. 6

                                              ORDER

         IT IS HEREBY ORDERED that the 4-day jury trial previously scheduled to begin on

October 8, 2021 is continued to the 29th day of October, 2021 at 9:00 a.m. Accordingly, the time

from the entry of General Order 20-009, March 16, 2020, and the new trial date is excluded from

Defendant’s speedy trial computation for good cause.

         SO ORDERED this 7th day of October, 2021.

                                                       BY THE COURT:



                                                      ______________________________
                                                      David Barlow
                                                      United States District Judge




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  18 U.S.C. § 3161(h)(7)(B)(i).
4
  Id. § 3161(h)(7)(B)(iv).
5
  Id. § 3161(h)(7)(A).
6
  Id. § 3161(h)(7)(C).

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